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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  RYAN BARRON, et al., for themselves and a class of
  others similarly situated,

                                                               Civil Action No.: 20-cv-04703
                                  Plaintiffs,

     v.                                                        Hon. Louis L. Stanton,
                                                               District Judge
  HELBIZ INC. et al.,

                                  Defendants.


                    PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

          Now come Plaintiffs Ryan Barron et. al., by their attorneys, and pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily dismiss without prejudice all claims against

Defendant Milos Citovek. Defendant Citovek has not answered nor filed a motion for summary

judgment as of the filing of this notice.



                                                      Respectfully submitted,


                                                      /s/ Michael Kanovitz
                                                      One of Plaintiffs’ Attorneys


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                           CERTIFICATE OF SERVICE


       I, Michael Kanovitz, an attorney, certify that on October 27, 2020, I filed the
foregoing pleading using the Court’s CM/ECF system, which effected service on all
counsel of record.

                                               /s/ Michael Kanovitz
                                               One of Plaintiffs’ Attorneys




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